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HONORABLE RICARDO H. HINOJOSA, U.S. DISTRICT JUDGE PRESIDING U115‘1€d 513 1;: 3 121 strict Courf
_ Southern District of T€Xa$

Courtroom Deputy Clerk. Alex De La Garza F LED

Electronic Court Recording Operator: Ton Tijerina

INTERPRETER: C. De Pena (used‘ ;§UG 2 § 2018 §

usPo: Qudg é/a;

 

 

TIME sET; 2:00 w./p.m. oavid J. Bradiey, Clerk di l
A.M. / P.MZ,`/§ / j'j/y 125 m,Al DATE; August 29, 2018 `
CRIMINAL No. 1117-1753 DEFT. 01
uNlTED sTATEs oF AMERICA ) RoBERT GUERRA AUSA
)
v. )
)
sALvADoR JR RANGEL, 111 ) MARco DE LUNA RET’D

 

 

 

SENTENC ING

New Sentencing Guidelines (NSG) case (ll- l- 14)
( ) Deft. failed to appear bench warrant to issue (kloc)
(\j/l<sen

Sentencing held (BO- =¢?D'fo?»:ga'%:£é° °?v‘/: 33 5/)61_ é,Z\L'é/b/".§P

Court GRANTS Government's motion for downward departure.

 

( ) kpstr Deft. withdraws plea of guilty
(/ SENTENCE/W gr?onths custody of the Bureau of Prisons.
Ct l (LCourt recommends Deft. be placed` 1n an institution where he/she can receive anv drug

 

and/or alcohol abuse treatment and or counseling

( J’Court recommends Deft. be placed in an institution close to hisLherTé`lmil\/.
( ) Court recommends this sentence run concurrenth / consecutivijv with
sentence in

gi vears Sup_ervised Release term to commence u@n release
from continemeng ) without supervision if deported.
( LA special condition of supervised release is that Deft. submit himself/herself to anv drug
and/or alcohol abuse treatment and or counseling

$lO0.00 Special Assessment imposed on Ct(,s)./° /
(V( Time to serve.
kdismcntgv Cts dismissed on Government Motion
REMANDED to custody of U. S. Marshal
kosurr. Deft. to surrender to U. S. Marshal on
Deft. to surrender to designated institution

)
)
) .
)
YY Deft. to report to the U. S Marshal on My M_ p.m. to be advised what

institute and what date to surrender to.

 

OTHER PROCEEDINGS (X) objections filed/urged
4 61 6

(V{Court advised Defendant of hisMght to appeal

 

